  Case 4:22-cv-00297-O Document 49 Filed 05/18/22               Page 1 of 3 PageID 2450



                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

JOHN DOE,                                §
                                         §
        Plaintiff,                       §
                                         §
v.                                       §              Civil Action No. 4:22-CV-00297
                                         §
TEXAS CHRISTIAN UNIVERSITY and §
VICTOR J. BOSCHINI, JR., in his official §
capacity,                                §
                                         §
        Defendants.                      §

                                   NOTICE OF APPEAL

       Defendants Texas Christian University and Victor J. Boschini, Jr. appeal to the United

States Court of Appeals for the Fifth Circuit from the Opinion & Order on Preliminary Injunction

entered on April 29, 2022 (ECF No. 40).




NOTICE OF APPEAL                                                                         PAGE 1
  Case 4:22-cv-00297-O Document 49 Filed 05/18/22      Page 2 of 3 PageID 2451



Dated: May 18, 2022                Respectfully submitted,

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NOTICE OF APPEAL                                                              PAGE 2
  Case 4:22-cv-00297-O Document 49 Filed 05/18/22                 Page 3 of 3 PageID 2452



                                CERTIFICATE OF SERVICE

      I certify that this document was served on the below-listed counsel of record via the Court’s
CM/ECF electronic filing system in accordance with the Federal Rules of Civil Procedure on
May 18, 2022.

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NOTICE OF APPEAL                                                                            PAGE 3
